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                         EXHIBIT C

             COMPARISION TABLE OF
           SPECIES REVIEW PROCESS IN
           CORPS-LED AND FLORIDA-LED
             SECTION 404 PROGRAMS
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                            Comparison of Species Review Process in Corps-led and Florida-led Section 404 Programs

                                                  Corps-led 404 Program                                                  Florida-led 404 Program
Agency Participants         Corps, EPA, FWS, FWC                                                      FDEP, EPA, FWS,a FWC
Review Standard             Whether permit “is likely to jeopardize the continued existence           Same standardc
                            of” listed species or “adversely modify” designated “critical
                            habitat”b
“No Effect” Finding by      No FWS reviewd                                                            FWS receives and reviews all permit applicationse
Corps/FDEP
“May Affect” Finding by     If permit “may affect” listed species or critical habitat, Corps          Same standardg
Corps/FDEP                  informally consults with FWS.f
(Informal Consultation)
“May Affect, Not Likely     If permit “is not likely to adversely affect” listed species or           Same standardi
to Adversely Affect”        critical habitat, consultation ends.h
Finding
(Informal Consultation
Ends)
“Likely to Adversely        If either the Corps or FWS determines that the proposed permit is         Same standardk
Affect” Finding             “likely to adversely affect” listed species or critical habitat, formal
(Formal Consultation)       consultation between the Corps and FWS begins.j
Jeopardy Standard           FWS issues a “biological opinion” evaluating whether the permit           Same standardm
                            is likely to jeopardize the continued existence of a listed species
                            or adversely modify critical habitat; if it makes that finding, the
                            BiOp will include “reasonable and prudent” alternatives to the
                            action, if any.l
Incidental Take             If there is “no jeopardy” but “incidental take” of listed species or      Same standardo
Authorization               critical habitat is reasonably certain to occur, FWS will issue an
                            incidental take statement that specifies the impact of the incidental
                            taking on the species, those “reasonable and prudent measures”
                            necessary or appropriate to minimize such impact, measures
                            necessary to comply with any take authorization, and any terms
                            and conditions required to implement these measures.n
Incidental Take Liability   Take liability protection is afforded only if permittee complies          Same standardr
Protection Only If          with FWS’s conservation measures, terms and conditions.p This
Complies with FWS           exemption may extend to private applicants covered by the federal
Conditions                  action (i.e., Corps’ issuance of a permit).q
Species Review Terms        Corps has the option to accept or disregard FWS conditionss               FDEP must accept FWS’s conditionst
and Conditions
Permit Denial based on      Corps “may” decide to not grant the permit.u                              “If the FWC, FWS, or NMFS concludes that a permit application
Species Concerns                                                                                      is likely to jeopardize or adversely modify designated critical
                                                                                                      habitat and no protection measures are available to reduce the
                                                                                                      risk to an acceptable level, [FDEP] shall deny the permit or shall




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                                                Corps-led 404 Program                                                Florida-led 404 Program
                                                                                                 take no action and notify EPA and the applicant of the
                                                                                                 decision…”v
EPA Oversight               EPA may veto permits issued by the Corps of Engineers for            EPA retains full oversight authority including the ability to object
                            limited reasons.w                                                    to or make recommendations on avoidance, minimization, and
                                                                                                 compensation measures for species.x
Public Comment              No right of public comment on project BiOp/ITSy                      Public review and comment on all aspects of FDEP permit,
                                                                                                 including FWS and FWC species analysis and conservation
                                                                                                 measures, terms and conditionsz

Public Access to Species    FOIAaa                                                               Available in real-time on FDEP Information Portalbb
Review Documentation

Best Available Science      FWS uses best available sciencecc                                    FWS must use “best available science” and BiOp requires State
                                                                                                 of Florida to use “best available data”dd
Legal Challenges            District court lawsuit challenging 404 permit and/or Biological      Florida Administrative Hearingff
                            Opinionee                                                            Florida Judicial Review in state courtsgg
Need for TRO/PI to Block    Plaintiff must obtain TRO/PI from federal court to block project     No final agency action if state administrative appeal is filedhh
an Issued Permit            pending judicial review
Standard of Review for      Arbitrary or Capricious, Abuse of Discretion, or Not in              Factual findings not supported by competent, substantial
Challenges to Species       Accordance with Lawii                                                evidence, erroneous interpretation of law, or exercise of
Protection Provisions in                                                                         discretion outside the range of discretion delegated to the agency
Section 404 Permits                                                                              by lawjj

Enforcement for Take        Federal enforcementkk                                                State enforcementmm
due to Non-compliance       Citizen suitll                                                       Federal enforcementnn
with Incidental Take                                                                             Citizen suitoo
Provisions

Primary Source/Guidance     FWS ESA Regulations (50 CFR Part 17)                                 Programmatic BiOp with ITS
                            ESA Consultation Handbook                                            FDEP-FWS-FWC Memorandum of Understanding
                                                                                                 FDEP 404 Regulations
                                                                                                 FDEP “will utilize [FWS]-approved permitting guidance that
                                                                                                 currently is used by the [Corps]”pp


 Agencies: U.S. Army Corps of Engineers (Corps), Florida Department of Environmental Protection (FDEP), U.S. Environmental Protection Agency (EPA), U.S.
 Fish & Wildlife Service (FWS), National Marine Fisheries Service (NMFS), Florida Fish & Wildlife Conservation Commission (FWC).qq
 Documents: The ESA Section 7 Consultation Handbook (“ESA Handbook”) is publicly available at https://www.fws.gov/media/endangered-species-
 consultation-handbook, and in the Administrative Record (“AR”) at EPA-HQ-OW-2018-0640-0387-A10. The State 404 Program Applicant’s Handbook
 (“Florida 404 Handbook”), which was adopted by Florida as a regulation (Fla. Admin. Code. R. 62-331.010(5)), is available in the AR at EPA-HQ-OW-2018-
 0640-0002-A20. The FWS Programmatic Biological Opinion (“BiOp”) is found in the AR at EPA-HQ-OW-2018-0640-0642. The Memorandum of
 Understanding between FDEP, FWC, and FWS (“MOU”) is available in the AR at EPA-HQ-OW-2018-0640-0016-A2.


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a
  “Technical assistance refers to a type of coordination process described in the ESA Section 7 Consultation Handbook (1998) that outlines a variety of ways in
which the FWS provides expertise and guidance on an individual project basis. In the context of FDEP’s 404 permit application reviews, the FWS will provide
technical assistance to the State of Florida by providing information, reviews, and recommendations on effect determinations and protective measures to ensure
compliance with the ESA, CWA, and Chapter 62-331, F.A.C.” BiOp at x (emphasis added).
b
  16 U.S.C. § 1536(a)(2).
c
  Florida-led process is intended to be “as protective as” the ESA Section 7 process in the Corps-led permit program. See MOU at 4. FWS “will provide
technical assistance to FDEP to insure that no State 404 permit action jeopardizes the continued existence of ESA-listed species or adversely modifies or destroys
critical habitat…” BiOp at 5 (emphasis added). FWS uses the same review standards as for Corps-led permits. See id. at 24-25 (explaining analysis for “no
effect/no impact,” “not likely to adversely affect/impact,” “likely to adversely affect/impact,” and “jeopardizes the continued existence of the species, and/or
destroys or adversely modifies critical habitat”). As explained in the BiOp, “FDEP’s processes and procedures to review State 404 applications will be similar to
and will utilize the USFWS-approved permitting guidance that is currently used by the USACE, to ensure consistency with CWA and ESA requirements.” BiOp
at 67.
d
  If the Corps finds that a proposed permit will have “no effect” on listed species or critical habitat, ESA consultation does not occur. ESA Handbook at 3-12.
e
  BiOp at 11 (“FDEP will … forward submitted applications to FWS and USFWS”); id. at 12 (“USFWS will receive all permit applications and public notices
directly from FDEP…USFWS will review all permit applications and effects assessments received from FDEP and FWC. USFWS will submit questions,
information and comments or measures necessary to minimize effects to ESA-listed species as needed. FDEP, in coordination with FWC, will receive, review,
and incorporate any impact minimization measures received from USFWS into its permit actions…”). FWS will “[r]eceive all the 404 permit applications sent by
FDEP” and “[r]eview all the 404 permit applications sent by FDEP,” and will “determine whether the permit application has the required information to assess:
a. Whether or not issuing the permit is likely to jeopardize an ESA-listed or proposed fish, wildlife, or plant species or cause adverse modification to proposed or
designated critical habitat of such species; and b. whether or not take, as defined by the ESA and [its] implementing regulations…is reasonably certain to occur
as a result of issuing the permit after taking into account all the protection measures that the FDEP and/or the applicant propose to implement.” Id. at 19-20; see
also BiOp at 67-68 (explaining that “[a]ll State 404 applications will be forwarded to USFWS for review,” with “FDEP or FWC preliminary determinations for
effects to ESA-listed species…”).
f
  ESA Handbook at 3-1.
g
  If permit “may affect/impact” listed species or critical habitat, FWS provides technical assistance and FDEP must adopt all FWS comments, terms, conditions,
and protective measures. See BiOp at 11-12, 16.
h
  ESA Handbook at 3-12.
i
  BiOp at 24-25.
j
  ESA Handbook at 3-13.
k
  BiOp at 24-25.
l
  ESA Handbook at 4-1 to 4-2.
m
   FDEP is “prohibit[ed] [from] issuance of a permit that will likely jeopardize the continued existence of endangered or threatened species, or result in the likely
destruction or adverse modification of habitat designated as critical for these species as determined by USFWS. The USFWS evaluation of the likelihood that a
permit action may jeopardize a species or adversely modify critical habitat will take into account the effects of any unrelated non-federal actions occurring in the
project area, similar to the way a cumulative effects analysis is conducted under section 7 of the ESA.” BiOp at 25.
n
  ESA Handbook at 4-1 to 4-2.
o
  BiOp at 69-73.




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p
   ESA Handbook at 2-12.
q
   16 U.S.C. § 1536(b)(4); ESA Handbook at 2-12 to 2-13.
r
   BiOp at 69-73 (requiring compliance with all FWS terms and conditions in order for incidental take liability protection to apply).
s
   If a jeopardy/adverse modification determination results, the Corps “may” adopt FWS’s reasonable and prudent alternatives, decide not to grant the permit,
propose modifications of the action or offer other alternatives “not yet considered,” or “choose to take other action if it believes, after a review of the biological
opinion and the best available scientific information, such action satisfies [ESA] section 7(a)(2).” ESA Handbook at 2-11 to 2-12.
t
   FDEP “shall incorporate as permit conditions all recommended impact avoidance and minimization measures (protection measures) provided by the FWC,
FWS, or NMFS under their respective authorities, to avoid jeopardizing listed species or adversely modifying designated or proposed critical habitat.” Florida
404 Handbook, Section 5.2.3; BiOp at 68 (explaining that “FDEP will incorporate as permit conditions all recommended impact avoidance and minimization
measures (protection measures) provided by the USFWS to avoid jeopardizing listed or proposed species and/or adversely modifying designated or proposed
critical habitat”).
u
   ESA Handbook at 2-11 to 2-12.
v
   Florida 404 Handbook, Section 5.2.3.
w
    33 U.S.C. § 1344(c) (authorizing EPA veto of Corps permit in certain instances, i.e., “unacceptable adverse effect on municipal water supplies, shellfish beds
and fishery areas (including spawning and breeding areas), wildlife, or recreational areas”).
x
   BiOp at 12. While EPA may waive review of certain 404 permits, any Florida 404 permit applications “with reasonable potential for affecting ESA-listed or
ESA-proposed species or critical habitat, however, are not waived” by EPA under any situation. Id. at 13. “Under the State 404 program, projects with
reasonable potential for affecting ESA-listed species or ESA-proposed species or critical habitat are defined as projects that have been determined by FDEP and
FWC, in coordination with USFWS, to affect listed species and their critical habitats, whether effects are beneficial or adverse.” Id.
y
   Dkt. 99 at 38-40; Dkt. 102 at 41; Nat’l Ass’n of Home Builders v. Defs. of Wildlife, 551 U.S. 644, 660 n.6 (2007) (explaining that there is not an “independent
right to public comment with regard to consultations conducted under § 7(a)(2)” of the ESA).
z
   BiOp at 13. “Details regarding the types and magnitude of effects to species and their critical habitats, as well as proposed protection measures are to be
included in the public notice.” Id.
aa
    https://www.usace.army.mil/FOIA/Offices.aspx; see also Dkt. 72 (comparing availability of environmental documents under Florida-led versus Corps-led
programs).
bb
    Technical assistance process with FWS “will be accomplished prior to the Public Notice, when possible.” MOU at 6. This is intended to allow species impact
analysis and proposed protection measures to be available for public input, and to allow FWS and FWC the ability to consider and address those comments, as
appropriate, including through changes to permit conditions and requirements. Id.
cc
    16 U.S.C. § 1536(a)(2) (“In fulfilling the requirements of this paragraph each agency shall use the best scientific and commercial data available.”).
dd
    Because FWS is participating in the Technical Assistance Process by virtue of its obligations arising under Section 7(a)(2) of the ESA in accordance with the
Programmatic Biological Opinion, FWS must use the best available science. Id.; see also Dkt. 99 at 69. As explained in the Programmatic Biological Opinion,
the State of Florida and FWS must use the “best available data,” defined as: “Best available data means data to assure the quality of the science used to establish
official positions, decisions, and actions taken by the State of Florida during the review of State 404 program permit applications, the quality of the biological,
ecological, technical, and other relevant information that is used will only be that which is reliable, credible and represents the best data available. Under Section
7(a)(2) of the ESA, the USFWS is required to use the best available science...” BiOp at iv (emphasis added).
ee
    Permit applicants and permit opponents seek judicial review of Corps-led permit actions in federal district court.
ff
    Fla. Stat. § 120.569-.57; Fla. Admin. Code R. 28-106.215-.217.
gg
    Fla. Stat. § 120.68.
hh
     Fla. Admin. Code R. 62-110.106(7)(e)(2), (10)(a).
ii
   5 U.S.C. § 706(2)(A).




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jj
   Fla. Stat. § 120.68(7)(b), (d), (e).
kk
    16 U.S.C. § 1540(e)
ll
   16 U.S.C. § 1540(g)
mm
     Fla. Stat. § 120.68(7)(b).
nn
    16 U.S.C. § 1540(e)
oo
    16 U.S.C. § 1540(g)
pp
    BiOp at 67.
qq
    Since 1976, FWS and FWC have been parties to a cooperative agreement under Section 6(a) of the Endangered Species Act, which directs FWS to “cooperate
to the maximum extent practicable with the States.” See MOU at 4.




                                                                           C-5
